                                 1   Tracy Green (Bar No. 114876)
                                     WENDEL ROSEN LLP
                                 2   1 1 1 1 Broadway, 24th Floor
                                     Oakland, California 94607 -4036
                                 J   Telephone: (5 10) 834-6600
                                     Fax: (510) 834-1928
                                 4   Email : tgreen@wendel.com

                                 5   Attorneys for Marlow Estates HOA,
                                     Secured Creditor
                                 6

                                 7

                                 8                              UNITED STATES BANKRUPTCY COURT

                                 9                              NORTHERN DISTRICT OF CALIFORNIA

                                10                                       SANTA ROSA DIVISION

                                11

                                     In re                                             Case   No. 19-10519-DM
                                12

(Lo+                                 CARLOS ORTIZ LOPEZ,                               Chapter 13
                                13
c_*    $
oi6
 oaF                            14
(rr5                                                                                   OBJECTION TO CONFIRMATION OF
6XE                                                          Debtor                    CHAPTER 13 PLAN AND REQUEST TO
:6-:;'.                         15
                                                                                       CONVERT FOR BAD FAITH
       o
                                I6
                                                                                       341(a) Meeting:
                                I7
                                                                                       Date: Septemberl0,2019
                                18
                                                                                       Time: 11:00 a,m.
                                                                                       Place:    99 SouthooE" Street
                                                                                                 Santa Rosa, CA
                                I9
                                20
                                                                                       Confirmation Hearing:
                                                                                       Date: October 1,2019
                                2l                                                     Time: 1:00 p.m.
                                                                                       Place: 99 SouthooE" Street
                                22                                                              Santa Rosa, CA
                                                                                       Judge: The Hon. Dennis Montali
                                23

                                24

                                25   TO:      THE HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY
                                              JUDGE, SANTA ROSA' CALIFORNIA, THE DEBTOR, DEBTOR'S COUNSEL,
                                26            THE CHAPTER 13 TRUSTEE, AND OTHER INTERESTED PARTIES:
                                27            Marlow Estates HOA ("HOA") objects to the Debtor's Plan for the reasons set forth

                                28   herein


                 Case: 19-10519                    Doc# 19    Filed: 09/09/19    Entered: 09/09/19 16:41:12     Page 1 of 12
023658.000 l\55992   I   4. I
                                     OBJECTION TO PLAN
                                1           HOA is a secured creditor and filed     a   proof of claim which indicates that it is owed the

                                2   sum of $20,269 .66. A true and correct copy of the filed Amended Proof of Claim is attached as

                                J   Exhibit A for the Court's convenience.
                                4           HOA is a secured creditor pursuant to that lien (attached to the proof of claim). The Plan

                                5   makes no attempt to pay HOA on its pre-petition claim, and no recognition of its lien. Even               if
                                6   HOA was partially unsecured it would be entitled to payment in            full.   In addition, HOA has not

                                7   received any payments since the case was filed, und         i.   owed at least the sum of $334.00 on its

                                8   prepetition administrative claim.

                                9           The Debtor's schedules reflect that the real property is worth the sum of approximately

                               10   $520,000, and Citibank filed claim number 6, stating that its debt is $296,961,46. Therefore,

                               11   HOA is entitled to be paid in full on its secured debt. Furthermore, unsecured creditors are

                               t2 entitled to   a greater   distribution. The Plan cannot be amended to include payment to HOA in full
O- o*
                               13   based upon the Debtor's income set forth in the schedules.
ci!
oN"'
oaF
(rlo                           t4          This is a bad faith filing, and HOA asks that the case be converted to a chapter 7 on the
6xE
o!o
o-:                            l5 grounds of bad faith. The fact that the Debtor's Plan fails to provide for any payments to HOA,                  as
>:-s
        o
                               T6   a secured creditor, either on its pre-petition debt, or on its post-petition assessments, speaks

                               I7 volumes about why the Debtor filed this case. This            case appears to be a ruse to try to get out   of
                               18   paying its creditors what they are owed, and what they would be entitled to in a chapter 7, while

                               I9 allowing the Debtor to continue to live in his house. There is significant equity that should           be paid

                               20   to creditors, and a zero payout plan should not be approved.

                               2l          Wherefore, HOA asks that the case be converted on the grounds of bad faith, and that the

                               22   Court sustain HOA's objection to the proposed Plan.

                               ZJ

                               24   DATED:      September    9,2079                WENDEL ROSEN LLP

                               25
                                                                                   By:               /s/ Tracy Green
                               26
                                                                                          Tracy Green
                               27                                                         Attorneys for Marlow Estates HOA,
                                                                                          Secured Creditor
                               28


                    Case: 19-10519                 Doc# 19       Filed: 09/09/19     Entered: 09/09/19 16:41:12              Page 2 of 12
023658.0001\55992   I   4. I
                                    OBJECTION TO PLAN                                       2
                                         EXHIBIT A

023658.000 l\55992 I 5. I

Case: 19-10519              Doc# 19   Filed: 09/09/19   Entered: 09/09/19 16:41:12   Page 3 of 12
     Fill in this information to identify the case:

     Debtor    1           Carlos Ortiz Looez

     Debtor 2
     (Spouse, if tiling)


     United States Bankruptcy Court for   the: Northern District of California

     casenumber 19-10519



Official Form 410
 Proof of Glaim                                                                                                                                                            04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U,S,C. S 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. lf the documents are not available,
explain in an attachment.
A person who flles a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 1B U.S.C. S$ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                    ldentify the Glaim

1.    Who is the current
                                       Marlow Estates HOA
      creditor?
                                       Name of the current creditor (the person or entity to be paid for this claim)

                                       Other names the creditor used with the debtor

2.    Has this claim been
                                       druo
      acquired from
      someone else?                    E ves. From whom?
3.    Where should notices             Where should notlces to the creditor be sent?                               Where should payments to the creditor be sent? (if
      and payments to the                                                                                          different)
      creditor be sent?
                                       Tracy Green, Esq., Wendel Rosen LLP                                             Pat Gromer, PAS, AAMC
      Federal Rule of                  Name                                                                        Name
      Bankruptcy Procedure
      (FRBP) 2002(g)                   1111 Broadway, 24th Floor                                                       6572 Oakmont Dr., Ste. A
                                       Number          Street                                                      Number            Street

                                       Oakland                            CA               94607                       Santa Rosa                     CA             95409
                                       City                               State                   ZIP Code         City                               State                ZIP Code


                                       Contact phone
                                                     51    0-834-6600                                              Contact phone     707-539-581 0

                                                 imair tgreen@wendel.com                                           Contact           Patricia@pas-inc.com
                                       contact
                                                                                                                             "'"ir

                                       Uniform claim identifier for electronic payments in chapter '13 (if you use one):




4.    Does this claim amend            ENo
      one already filed?
                                       d y"r. Claim number on court claims registry (if known) 7                                              Fited   on      0811512019
                                                                                                                                                              MM   /DD   /YYYY


5.    Do you know ifanyone             dNo
      else has filed a proof           E Yes.     Who made the earlier filing?
      of claim for this claim?
                                                                                                              EXHIBIT A

     orriciar         19-1"051-9 Claim 7-2 FiledflS$Fflr% Desc Main Document Page 1 ofpSe r
                   Forrfifl6e
             Case: 19-10519 Doc# 19 Filed: 09/09/19 Entered: 09/09/19 16:41:12 Page 4 of 12
                 Glvo Informatlon About the Claim ac ol the Date the Gare Was Fllsd

6.    Do you have any number         0ruo
      you use to ldentlfy the        il   Yes, Last + diglts ofthe debtor's account or any number you use to ldentlfy the    debtor:   -     0      0      2
      debtor?



7.    How much ls the clalm?                                        20            Does thls amount lncludo lnterest or othor charges?
                                                                                  Druo
                                                                                  d   Vur. Altach statement itemizlng lntelesl, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).


      What ls the basls of the       Examples: Goods sold, money loaned, lease, servlces performed, personal lnjury or wrongful death, or credll card,
      clalm?
                                     Afiach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                     Llmll dlscloelng lnformatlon lhat is entitled to prlvacy, such as health care information.


                                     Homeowners Dues, fines and collection charges


9.    ls all or part of the clalm    E    tto
      secured?                       d v"n       The claim ls secured by a llen 0n property.
                                                 Nature of proportyi
                                                 I   Real estate. lflheclalmissecuredbythedebtor'sprinclpal resldence,{lleaMoftgageProof            of Claim
                                                                   Atlachment (Officl8l Form 410-A) with lhls Proof of Clalm.
                                                 E   Motor vehlcle
                                                 d   otl"'ur. Descrlbe:        Notice of Delinquent Assessment attached


                                                 Basls for perfectlon:         California Civil Code Section 5675 and CC&R's
                                                 Attach redacled copies of documents, if any, lhat show evidence of perfection of a security lnterest (for
                                                 example, a mortgage, lien, certlflcate of title, flnanclng statement, or olher document that shows the lien has
                                                 been filed or recorded.)



                                                 Value of property:
                                                                                               q       520,054.00
                                                 Amount of the clalm that ls secured;          $         20.269,66

                                                 Amount of the clalm that l$ unsecuroO,        C----            0'00.(The sum   of the secured and unsecured
                                                                                                                       amounts should match the amounl ln llne 7,)



                                                 Amount nocossary to curg any dofault as of the date of lhe petitloni                          14,935,00


                                                 Annual lntorost Rat€ (when case was      filed)-%
                                                 E   rixed
                                                 E   Variable



10.   13   thls clalm bassd on   a   d    r'ro
      leasg?
                                     [J   Yes. Amount necossary to cure 8ny default as of the date of the petltlon.               $



11. ls   thls clalm subject to   a   druo
      rlght of setoff?
                                     E    Yes. ldentify the propertyl




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                         r-9-105i-9 craim 7-2 rireo U$?btliU Desc Main Document page 2 8?b'z
           Case: 19-10519                 Doc# 19           Filed: 09/09/19              Entered: 09/09/19 16:41:12                        Page 5 of 12
12. ls all or part of the clslm       /Ho
   ontltlod to prlodty undor                                                                                                                          Amount ontlgod to Pdodty
                                         Yes, Ciqck one:
    llU.s.c. S 507(a)?
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   priority and partly                        11 U.S.C. S 507(aXlXA) or (aXl)(B).
   nonprlorlty. For examPle,
   ln some categorlos, lhe                    Up lo $3,025' of deposlts towad purchase' l8ase, or renlal of prop€rty or seMces for                   c
   law llmlts the amounl                      pirsonat, famlly, or household use. 11 U.S.C' S 607(a)0.
   entilled to pdorlty.
                                              wages, salefl€s, or commlsslons (up to $13,6€0') esrned wllhln lSo.days.befor€ the
                                              Uan-truifcy petttlbn lg frled or the debtor's buslness endg, whlchover ls,earller.
                                              11 U.S.C, S 507(aX4)'

                                              Taxes or p€naltles owed to govemmental unlts' '11 U.S.C. S 507(aX8)'

                                              Contdbutlons to an employee bensfit plan'         l1   U.S.C. S 507(a)(5)'

                                              Olher. Sp€drysubsec'llon of     ll    U.S.C. S   507(aX ) thatapplles'       .



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 electronlcally, FRBP
                                         I am a guaranlor, surety, endolBer, or olher codebtor. Bankruplcy Rule 3005'
 5005(aX2) authorizes courts
 to establlsh local rules
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                                  conbciphono 707-539-5810 x 352                                                     emar      Patricia@oas-inc,com




 officrarFofiam       L9-105L9                Claim      7-2       Filed 0O&6/Oem Desc Main                          Document                      Page 3 of€3
     Case: 19-10519                   Doc# 19               Filed: 09/09/19                Entered: 09/09/19 16:41:12                                Page 6 of 12
            Attached is the following:

            1.           Notice of Delinquent Assessment;

            2.           Itemized Statement as of 1112212016:' and

            3.           Pre-bankruptcyCollectionCosts.

            The sum of $5,000 has been included in the claim as an estimate of legal fees. When fees
 are known, this claim   will be amended.
         The administrative claim to date is the sum of $334.00 and continues to accrue at the rate
 of $34.00 per month, plus additional charges.




                                                     EXHIBIT A

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    Case L9-10519              ClaimT-2     Filed   09/05/19 Desc Main Document Page 4 of I
Case: 19-10519               Doc# 19     Filed: 09/09/19    Entered: 09/09/19 16:41:12   Page 7 of 12
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              Case      19-10519 ClaimT-2 Filed 09/05/1-9 Desc Main Document Page 5 of 9
      Case: 19-10519                   Doc# 19             Filed: 09/09/19           Entered: 09/09/19 16:41:12                      Page 8 of 12
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                                                                                                                                                                     s250,0t1
          cl:l{filrt tiD - t,R1:-l.tuN                                                                                                                                   s t.1,44
          N0Dn r'[:E                                                                                                                                                 s3.slr.{ril
          IiIJCO RD I NG . N O I'I C:IJ Or' DELI NQUEN'I' ASSESSM HNT
                                                                                                                                                                         sI      l.(nl
          IIECORDIN(i . III]LTJASE OF LIEN
                                                                                                                                                                             $8.(nl
          CI:RTIFllID MAlt. - NODA                                                                                                                                       $ I N.()il

 'folul due Thustee for                  Fees and Costs:                                                                                                           9775.44



rh-rrtr47         Case         19-l-05L9 ClaimT-2                  Filed 09/05/1"9 Desc Main                        Document                      Page 6 ef       $rr.uc I rrl             I



           Case: 19-10519                      Doc# 19         Filed: 09/09/19         Entered: 09/09/19 16:41:12                                      Page 9 of 12
08121t2019   1   1i23 AM                                                                                                               Page:   1

                                                      Morlow E$lat€8 O$tnst8 A8soclouon


00-5130 Madow Eststos OA                                                                                    OAS Managomenl
Santa Rosa CA 85401                                                                                         6572 Oakmont Drlve, Sulte A
                                                                                                            Santa Rosa CA 95409




                           Marla Lopez              cho   01tsu201s     AM BF.AM                                     1,261.00          4,261,00
                           'l,l00 Alblon Placo      chs   01/31 /201I LI BF- LI                                      1,311,21          6,572,2',1
                           Santa Roea CA 95401      chs   01t3112015 Ic BF. LF                                       1,244.00          6,810,21
                                                    chc   01t31t2019 CF BF- Coll6ctlons                                250,00          7,068.21
                                                    chs   01t911201s Vl BF. Flnee                                    3,000.00      10,066.21
                                                    chg   02t01t2019 AM AsssEsmonl Monthly                              34,00      10,100.21
                                                    cho   03/01/201 I AM Agsossmenl Monthly                             34,00      10,134,21
                                                    chg   04t0112019 AM Assosgmenl Monthly                              34,00      10,1 88.21
                                                    chs   04/03/201 I Ll Late lnlerEsi                                  43.29      10,2 t 1,50
                                                    chs   04tos1201s LC Lat€ Chg-10/2017                                10,00      10,22't,50
                                                    chg   04/09/201 I LC Lato Chg-01/2010                               10.00      10,231.50
                                                    chs   01t09t2019    LO   Lats Chg-02/2018                           10,00      10,241.50
                                                    chg   04h8t201s     LC   Late Chsrge                               10,00       10,251.50
                                                    chs   05t0112019    AM   Asssssment Monthly                        34,00       10,285,50
                                                    chs   05/01/201 I   Ll   Lale lnteresl                             43,63       10,329,1 3
                                                    chs   051151201 s   LC   Lsle Chargo                               10.00       10,339.1 3
                                                    chs lalun01 I       AM   A6s€6smenl Monthly                        34,q0       10,373,13
                                                    chs 06/01/201 I     Ll   LBts lntore8t                              43.57      10,417,10
                                                    chs 06t15t201 I     LC   Lale Charge                               10,00       10,427,10
                                                    Cha 071011201 I     AM   A6sos6ment Monlhly                        34,00       10,101,10
                                                   .cn;-iznot2o1 I      Vl   Yerd                                     100,00       10,561,10
                                                    chs   07t26t2019    Vl   Fence                                    100,00       1 0,061,10

                                                    chc   0712812019    Vl   Storage of ltomg                         1 00,00      10,761.10
                                                    chg   08t0u201s     AM   Asse8sment Monlhly                         34,00      1 0,795.1 0

                                                                                                  End Bal                          1 0,795,1 0




                                                            0                                                      7 of 9
             Case: 19-10519             Doc# 19   Filed: 09/09/19 Entered: 09/09/19 16:41:12                     Page 10 of
                                                                12
                  Al I ied Trustee Services                                                                    INVOICE
                  WORKIN6 IO6ETHER TO IMPROVE YOUR COMMUNI'Y

                  Rlmlt   io:                     For   qucilonr or e$lrlans:r
                                                                                        INVOICE NUMBTR
                                                                           I                                    DATE         P^6E
                    990 Bererve Drlvo, Sulte   208      800,220,3454, optlon
                    Roscvllle, CA   95678               hbox@alliedtrusle. com             13788             711912019         1


    l0l lo:

       MA HLOW ESTATES OWNEBS ASSOCIATION                                                                                MANES
                                                                                                                           FAS
       C/O PHOFESSIONALASSOCIAT]ON SERVICES, INC.                                                                                   g
                                                                                                                                    t
       ATTN: PAT GHOMER
       PATRICIA@PAS.INC.COM


 f iI,T NUMBER                  YOUR RtfIfiENCE                          owNERls)                  PNOPENTY ADDRE5S
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                                                                                                                                    !
  16.11847                         ME-002                      CABLOS OHTIZ LOPEZ              11OO   ALBION PI.ACE                 !I
                                                                                             SANTAFOSA,OA 95401
                                                                                                                                    I
   OATE             nFscRtpnoN                                                                                           AMOUNT

09/901201     I      VESTING VERIFICATION                                                                                  25.00
09/308016            SETUP FEE                                                                                            100.00
 10lflnoft           PRE-LIEN FEE                                                                                        260.00
10/18/2016           CEBTIFIED.         PBE.LIEN                                    :                                      13.'14
 111?212016          NODA FEE                                                                                            s50.@
11130t2016           RECORDING . NOTICE OF DELINOUENTASSESSMENT                                                            17.00
1AO$/2O16           CERTIFIED. NODA                                                                                        13,M
oulano17            COLLECTAB]LITY PHOFILE TITLE REPORT                                                                  225,40
ogl1sl2017          PHE FORECLOSURE NOTICE FEE                                                                           150.00
0311612017          CERTIFIED . PHE.FORECLOSUHE NOTICE                                                                    13.64
01t2512018          TRUSTEE FEE                                                                                          475.00
01125t2018          RECORDING. NOTICE OF DEFAULT                                                                          92.00
o'v2612018          RECOFDING . NOTICE OF HESC]SSION                                                                     190,00
01tzsaaft           TITLE COMPANY RECORDING FEE                                                                           15.00
oa0st2018           TEN DAY MAILING                                                                                       18.82
0512412018          PHOCESS SERVICE. NOD , ONE LEGAL                                                                     150.00
06/05/2018          PROCESS SEFV|CE. NOD - ONE LEGAL (ISTATTEMPT)                                                         75,00
06/05/2018          PFOCESS SERV|CE. NOD . ONE LEGAL (zND ATTEMPT)                                                       182.50
1118012018          COLLECTABILITY PHOFILE TITLE HEPORT UPDATE                                                           125.00
0u15t2019           TRUSTEE SALE GUARANTEE                                                                               285.00
04/15/2019          PUBLICATION NTS                                                                                    1,427.42
o4t16t20tg          POST]NG NTS                                                                                          125.00
04/19/2019          NOTICE OF SALE MAILING                                                                                16.60
04EA201e            RECOHDING . NOTICE OF TRUSTEE'S SALE                                                                  92.00
asn7Eols            POSTPONEMENT FEE                                                                                      25.00
0611712015          POSTPONEMENT FEE                                                                                      25.00

                                               AMOUNTS THAT I'IAV BE PLACED ON OWNER,S         ACCOUNT!               $4,424.50




       Case L9-L051-9 ClaimT-2 Filed 09/05/19 Desc Main Document Page 8 of 9
     Case: 19-10519 Doc# 19 Filed: 09/09/19 Entered: 09/09/19 16:41:12 Page 11 of
                                          12
                 Allied Trustee Services                                                                                INVOICE
                 WONXING fO6ETHER TO I[tPROVS YOUN COMMUNITY

                 Rrmlt   lo:                           tol qugtlcntor il5l5trnc:l
                                                                                                 INVOICE NUMSEN          DAIE        PA(iI
                   9!10   hei€rve Dtiv3, Suite   l0B     E00.220,5454, optlon 5
                    Roievllla, CA   95678                lnbore.llhdtru$e!.@m                        19788            711912019       2

     tdlto:
        MARLOW ESTATES OWNEFS ASSOCIATION                                                                                         MAREB
                                                                                                                                    FA$
        c/o PRoFESSIONALASSOCIATION SERVICES, lNC,                                                                                           F
                                                                                                                                             it
        ATTN: PAT GHOMER
        PATBICIA@PAS-INC.COM


  FII"f NUMBER                 YOUN RiFTHTNCE                               owNlR{sl                         PROPERTY ADDR[55
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                                                                                                                                             t

   't6.r1847                        ME-002                       CARLOS ORTIZ LOPEZ                    llOOALBION PTACE                      E
                                                                                                                                             r
                                                                                                      SANTAROSA,CA 95401
                                                                                                                                             e

    t]ATE           DISCRIPTION                                                                                                   AMOUNT



                                                                                       PLEASE PAY THIS   AMOUNT:            $4,474.56

REASON FOR INVOICE: ALLIED'S FEES AND COSTS FoR PRooF OF Cl-AlM FlLlNG.




              Case L9-10519               ClaimT-2              Filed    09i05/L9 Desc Main Document                  Page 9 of 9
      Case: 19-10519                  Doc# 19               Filed: 09/09/19 Entered: 09/09/19 16:41:12                     Page 12 of
                                                                          12
